Appellate Case: 23-8078     Document: 010111100895      Date Filed: 08/27/2024     Page: 1
                                                                                  FILED
                                                                      United States Court of Appeals
                       UNITED STATES COURT OF APPEALS                         Tenth Circuit

                              FOR THE TENTH CIRCUIT                         August 27, 2024
                          _________________________________
                                                                         Christopher M. Wolpert
                                                                             Clerk of Court
  UNITED STATES OF AMERICA,

        Plaintiff - Appellee,

  v.                                                    Nos. 23-8078 &amp; 23-8080
                                                 (D.C. Nos. L:22-MJ-00048-SWS-1 and
  SHANE M. HENNING,                                     L:22-PO-00397-SWS-1)
                                                               (D. Wyo.)
        Defendant - Appellant.
                       _________________________________

                              ORDER AND JUDGMENT*
                          _________________________________

 Before MATHESON, BACHARACH, and McHUGH, Circuit Judges.
                   _________________________________

       Following a trial before a magistrate judge pursuant to 18 U.S.C. § 3402,

 Shane M. Henning appeals his convictions for contempt and refusal to submit to a

 breath test upon suspicion of driving under the influence. He challenges the

 sufficiency of the evidence for his contempt conviction and the magistrate judge’s

 denial of his motions to suppress evidence stemming from his refusal to submit to a

 breath test and from the attempted execution of the search warrant. He also claims



       *
         After examining the briefs and appellate record, this panel has determined
 unanimously that oral argument would not materially assist in the determination of
 this appeal. See Fed. R. App. P. 34(a)(2); 10th Cir. R. 34.1(G). The case is therefore
 ordered submitted without oral argument. This order and judgment is not binding
 precedent, except under the doctrines of law of the case, res judicata, and collateral
 estoppel. It may be cited, however, for its persuasive value consistent with
 Federal Rule of Appellate Procedure 32.1 and Tenth Circuit Rule 32.1.
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 the magistrate judge erred by denying his pre-trial motion to dismiss the contempt

 charge. Exercising jurisdiction under 28 U.S.C. § 1291, we affirm.

                                I.      BACKGROUND

       On July 15, 2022, a Yellowstone National Park employee called the

 Yellowstone Communication Center to report an erratic driver and to pass along the

 description of the driver’s truck and license plate number. Approximately sixteen

 minutes after the Communication Center received this tip, while responding to this

 call, a park ranger spotted the reported truck with the matching license plate number

 parked in front of a residence in the Yellowstone residential area of Lower

 Mammoth, Wyoming. The park ranger also saw a man and a woman standing on the

 front porch of the nearby residence.

       The park ranger contacted dispatch and learned the truck was registered to

 Mr. Henning. The park ranger then called out Mr. Henning’s name and asked him to

 come off the porch to speak with the ranger, which Mr. Henning did. The park ranger

 noticed that Mr. Henning was unsteady and smelled of alcohol. Mr. Henning

 confirmed that he owned the vehicle in question and that he had been driving on the

 route where the vehicle had been reported that afternoon. Mr. Henning also admitted

 he had consumed three beers before the drive in question, and park rangers assisting

 with the investigation discovered an open can of beer in the truck. Mr. Henning took

 an eye movement test but refused a preliminary breath test. Upon completion of the

 eye movement test, the park rangers arrested him.



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       Mr. Henning was taken to the Mammoth Jail within Yellowstone, where he

 was advised of the federal implied consent advisement, which addresses the

 consequences of refusing a breath test while driving on federal lands. These

 consequences included the use of the refusal of the breath test as evidence against

 him in a criminal trial. Mr. Henning acknowledged that he understood the

 advisement, but he nevertheless declined a breath test and signed a corresponding

 refusal form. Park rangers returned to Mr. Henning’s cell to present a search warrant

 to obtain a blood sample from Mr. Henning about two and a half hours after he

 declined the breath test. The park rangers explained to Mr. Henning that he would be

 charged with contempt if he did not give blood. However, Mr. Henning refused to

 comply with the search warrant, and no blood sample was ever secured.

       Mr. Henning was charged via violation notices on July 15, 2022, with

 (1) operating a vehicle while under the influence of alcohol to a degree that renders

 the operator incapable of safe operation, in violation of 36 C.F.R. § 4.23(a)(l);

 (2) refusal to submit to a chemical test for presence of alcohol, in violation of 36

 C.F.R. § 4.23(c)(2); and (3) carrying an open container of alcohol in a motor vehicle,

 in violation of 36 C.F.R. § 4.14(b) (the “DUI case”).1 Mr. Henning pleaded not guilty

 to these charges on July 18, 2022. Separately, Mr. Henning was charged via

 complaint on August 31, 2022, with one count of disobeying or resistance of a lawful


       1
         Mr. Henning was also charged via violation notice with improper food
 storage in violation of 36 C.F.R. § 2.10(d) on July 8, 2022. This charge was
 consolidated with the DUI case. He was acquitted of that charge at trial. No aspect of
 that charge is before this court on appeal.
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 order under 18 U.S.C § 401(3) for his alleged failure to comply with the blood test

 search warrant (the “contempt case”). Mr. Henning pleaded not guilty to this charge

 on September 15, 2022.

         Mr. Henning filed four motions to suppress in the DUI case: a motion to

 suppress all evidence derived from Mr. Henning’s initial encounter with law

 enforcement due to a lack of particularized suspicion to stop him, a motion to

 suppress all evidence derived from the issuance of the search warrant because it was

 not supported by probable cause and the evidence was stale when executed, a motion

 to suppress all evidence derived from his refusal to submit to a breathalyzer test

 because he was not advised of his right to obtain an independent blood test, and a

 motion to suppress all statements to law enforcement because he was in custody and

 not Mirandized. Mr. Henning also filed a motion to dismiss the contempt charge for

 lack of probable cause, although he filed it in the DUI case rather than the contempt

 case.

         During the motions hearing, the magistrate judge noted that the motion to

 dismiss the contempt charge was filed in the DUI case, not the contempt case, but

 gave defense counsel the opportunity to refile the motion in the contempt case. The

 magistrate judge also suggested that the motion to dismiss be considered as a

 sufficiency of the evidence issue at trial, and the parties did not object. The

 magistrate judge ultimately denied all motions to suppress. In her order denying the

 motions to suppress, the magistrate judge “decline[d] to address the contempt case or



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 how these rulings may apply in that case since no motions were filed.” Appellant’s

 Br. at 33.

        Following a day-long bench trial, in which Mr. Henning failed to file a motion

 for judgment of acquittal, but instead filed a motion for a mistrial on grounds not

 raised here, the magistrate judge convicted Mr. Henning of refusing a breath test, an

 open container violation, and contempt, while acquitting him of the DUI and

 improper food storage charges. In total, Mr. Henning was sentenced to seventeen

 days of jail, with credit for six days of time served, a $1,950 fine, and one year of

 unsupervised probation.

        Mr. Henning appealed to the district court, challenging the magistrate judge’s

 denial of his motion to dismiss the contempt charge and his motions to suppress

 evidence stemming from his refusal to submit to a breath test and from the attempted

 execution of the search warrant. The district court held that Mr. Henning waived any

 challenge to the motion to dismiss the contempt charge because he failed to file any

 motions concerning the contempt charge in the proper case. Furthermore, the district

 court held that, even if the challenge had not been waived, there was sufficient

 evidence to convict him for contempt because he refused to comply with a search

 warrant, which is a court order. The district court also concluded that Mr. Henning

 failed to properly brief the challenge to the park rangers’ alleged failure to inform

 Mr. Henning that he could seek an independent blood test, and thus waived it, and

 that the challenge is contrary to decisions previously issued by the District of

 Wyoming in any event. Lastly, the district court concluded that the officers had

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 probable cause to administer a breath test as a lawful search incidental to arrest, thus

 affirming the magistrate judge’s order denying the motion to suppress Mr. Henning’s

 refusal to submit to the breath test. Mr. Henning now appeals.

                                     II.    DISCUSSION

          “In all cases of conviction by a United States magistrate judge an appeal of right

 shall lie from the judgment of the magistrate judge to a judge of the district court of the

 district in which the offense was committed.” 18 U.S.C. § 3402. “The scope of the

 appeal is the same as in an appeal to the court of appeals from a judgment entered by

 a district judge.” United States v. Paup, 933 F.3d 1226, 1230 (10th Cir. 2019) (quoting

 Fed. R. Crim. P. 58(g)(2)(D)). “When the district court’s order is appealed, our court

 exercises a ‘second tier of appellate review’ in which we apply to the magistrate

 judge’s order ‘the same standard’ that the district court is to use in its own review.”

 Id. (quoting United States v. Pilati, 627 F.3d 1360, 1364 (11th Cir. 2010)). “Thus,

 like the district court, we review the magistrate judge’s legal conclusions de novo and

 its factual findings for clear error.” United States v. Lantis, 17 F.4th 35, 38 (10th Cir.

 2021).

          Mr. Henning first argues that the magistrate judge erred by denying his motion

 to dismiss the contempt charge. This argument is waived because the motion was

 never properly presented to the magistrate judge and Mr. Henning raises no plain

 error argument.

          “Errors that are waived rather than merely forfeited through failure to object

 are not subject to plain error review.” United States v. Teague, 443 F.3d 1310, 1315

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 (10th Cir. 2006) (quotation marks omitted). “When an appellant fails to preserve an

 issue and also fails to make a plain-error argument on appeal, we ordinarily deem the

 issue waived (rather than merely forfeited) and decline to review the issue at all—for

 plain error or otherwise.” United States v. Leffler, 942 F.3d 1192, 1196 (10th Cir.

 2019). “Under such circumstances, the failure to argue for plain error and its

 application on appeal . . . surely marks the end of the road for an argument . . . not

 first presented to the district court.” Id. (alterations in original) (internal quotation

 marks omitted).

        The magistrate judge explained that the motion to dismiss the contempt charge

 was improperly filed in the DUI case, rather than in the contempt case, and informed

 Mr. Henning that he had leave to refile the motion in the contempt case. Mr. Henning

 made no attempt to refile the motion, and he never asserted a motion for a judgment

 of acquittal at trial—even after the magistrate judge suggested the issue could be

 addressed as a sufficiency of the evidence challenge at trial. Nor does he argue that

 the magistrate judge erred by not considering his motion to dismiss because of this

 filing error. Furthermore, Mr. Henning never seeks plain error review for this issue.

 He essentially ignores that the magistrate judge never addressed the motion because

 it was improperly filed in the wrong case and never reasserted in any form in the

 contempt proceeding.

        It is true that “[a] plain error that affects substantial rights may be considered

 even though it was not brought to the court’s attention.” Fed. R. Crim. P. 52(b).

 “[W]hen an error is obvious enough and satisfies Federal Rule of Criminal Procedure

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 52(b), we may exercise our discretion to recognize the error notwithstanding briefing

 deficiencies.” Leffler, 942 F.3d at 1198 (internal quotation marks omitted). “But we

 will only exercise our discretion if it permit[s] the appellee to be heard and the

 adversarial process to be served.” Id. (alteration in original) (internal quotation marks

 omitted). We see no basis to exercise our discretion on this matter because

 Mr. Henning is represented by counsel, was alerted to failures with his motion to

 dismiss by the magistrate judge but never rectified them, was alerted to waiver issues

 by the district court on this claim, and was alerted to waiver issues by the

 Government in its response brief on this appeal and yet never filed a reply brief. See

 id. at 1197–99 (outlining how similar factors weigh against the exercise of discretion

 to conduct plain error review despite waiver). This argument is waived, and we

 decline to review it.

       Next, Mr. Henning claims there was insufficient evidence to support his

 conviction for contempt on the narrow ground that he was supposedly never made

 aware of the warrant for his blood draw. But again, Mr. Henning never made a

 motion for a judgment of acquittal at trial. “[A] defendant must present claims of

 insufficient evidence in the first instance [during trial] through a motion for a

 judgment of acquittal.” Id. at 1197; see also Fed. R. Crim. P. 29. Furthermore,

 Mr. Henning does not argue for plain error review in his opening brief, nor did he file

 a reply brief in which we might have otherwise permitted an argument regarding his

 sufficiency-of-the-evidence claim to proceed. See Leffler, 942 F.3d at 1197. This

 issue is waived, and for many of the same reasons we decline to exercise our

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 discretion to review the motion-to-dismiss claim, we decline to exercise our

 discretion to review this issue for plain error.

        Next, Mr. Henning claims the magistrate judge erred in denying his motion to

 suppress evidence derived from the attempted execution of the search warrant,

 allegedly in violation of his Fourth Amendment right to exculpatory evidence,

 because the federal implied consent advisement never informed him of his right to

 obtain independent blood testing to measure his blood alcohol content. But in

 asserting this issue, Mr. Henning never engages with the district court’s holding that

 he waived this argument through inadequate briefing, nor does he present this

 argument under the plain error framework. Furthermore, he raises supporting

 arguments here that he did not raise before the district court, and he never argues that

 these arguments should be considered under the plain error framework. “[T]he failure

 to argue for plain error and its application on appeal . . . surely marks the end of the

 road for an argument . . . not first presented to the district court.” Id. at 1196

 (alterations in original) (quotation marks omitted). We conclude this argument is

 waived, and we again find no basis for which to set aside Mr. Henning’s failure to

 argue plain error.

        Finally, Mr. Henning argues the magistrate judge erred in denying

 Mr. Henning’s motion to suppress his refusal to submit to a breath test. But

 Mr. Henning never argued before the magistrate judge that the park ranger lacked

 particularized suspicion to ask Mr. Henning to take a breath test. And as is his

 responsibility under the Tenth Circuit Rules, Mr. Henning did not cite where in the

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  record this objection was made and ruled upon for purposes of preservation. See 10th

  Cir. R. 28.1(B)(1). Nor does Mr. Henning raise this argument under plain error in an

  opening brief. And again, Mr. Henning never filed a reply brief to respond to the

  Government’s waiver argument here. We decline to consider this waived argument.

  See Leffler, 942 F.3d at 1197–99.

                                 III.   CONCLUSION

        We AFFIRM Mr. Henning’s convictions.


                                             Entered for the Court


                                             Carolyn B. McHugh
                                             Circuit Judge




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